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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                          Filed Electronically: June 15, 2018

IDEKER FARMS, INC., et al.,          )
                                     )
            Plaintiffs,              )      Case No.: 1:14-cv-00183-NBF
      v.                             )
                                     )      Senior Judge Nancy B. Firestone
UNITED STATES OF AMERICA,            )
                                     )
            Defendant.               )


UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION FOR RECONSIDERATION


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                                        INTRODUCTION

       As set forth in the United States’ motion for reconsideration, the Court should reconsider

its trial opinion, vacate its findings on causation, apply the correct legal standard for causation

set forth in St. Bernard Parish, and dismiss all of Plaintiffs’ claims for failure of proof on

causation. See U.S. Mot. for Recons. (“U.S. Mot.”) 1-7, ECF No. 436. In St. Bernard Parish,

the Federal Circuit specifically and plainly held that the correct “causation analysis must

consider the impact of the entirety of the government actions that address the relevant risk.” St.

Bernard Parish v. United States, 887 F.3d 1354, 1364 (Fed. Cir. 2018). This holding is not

complicated. Yet, Plaintiffs argue that the specific facts in Ideker allow this Court to circumvent

St. Bernard Parish’s holding and ignore several of the considerable flood-risk reducing actions

taken by the United States along the Missouri River because of when the United States initially

took such actions—regardless of whether those actions reduced the risk of flooding at the time of

the alleged takings. In making that overarching argument, Plaintiffs misconstrue bedrock

principles of Fifth Amendment jurisprudence by conflating the threshold issue of causation with

the reasonable investment-backed expectations of the individual Plaintiffs and concepts related

to the appropriate measure of just compensation. Plaintiffs also make equitable arguments that

misinterpret case law and ignore the crucial aspects of the United States’ flood control

infrastructure. As set forth below, and in the United States’ other briefs discussing St. Bernard

Parish, the Court should reject Plaintiffs’ arguments and rule for the United States.

                                           ARGUMENT

I.     The Proper Causation Standard Requires Consideration of All United States
       Actions That Address the Risk of Flooding on Plaintiffs’ Property.

       Plaintiffs’ claims fail because to meet their causation burden, they must account for all

the flood-risk reducing effects of the actions taken by the United States with respect to Plaintiffs’

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properties. U.S. Mot. 3-7; U.S. Resp. to Pls.’ Br. regarding the Impact of St. Bernard Parish on

Pls.’ Mot. for Recons. (“U.S. Resp.”) 2-8, ECF No. 441. As stated in St. Bernard Parish, the

“governing Supreme Court and Federal Circuit authority . . . establish[es] that the causation

analysis must consider the impact of the entirety of the government actions that address the

relevant risk.” 887 F.3d at 1364. The Federal Circuit further stated “[i]t is well established that

a takings plaintiff bears the burden of proof to establish that the government action caused the

injury” and that “the causation analysis requires the plaintiff to establish what damage would

have occurred without government action.” Id. at 1362-63. Thus, causation is a threshold issue.

And when a plaintiff fails to prove causation, the Court does not need to address any further

arguments related to liability—like foreseeability, severity, or reasonable investment-backed

expectations. See id. at 1362 (holding that the court did not need to address foreseeability

because “plaintiffs have failed to establish that the construction or operation of MRGO caused

their injury”). 1

        In this case, “[t]o meet the demands of settlers and minimize flooding,” the United States

built a series of reservoirs that regulated flood flows, constructed and repaired levees that helped

contain flooding, and implemented the BSNP that enabled navigation and benefited flood control

and has operated for decades. Ideker Farms, Inc. v. United States, 136 Fed. Cl. 654, 660-662



1
 Similarly, the Court need not address liability for a taking when a plaintiff does not have a valid
property interest. See Huntleigh USA Corp. v. United States, 525 F.3d 1370, 1377-78 (Fed. Cir.
2008); Wyatt v. United States, 271 F.3d 1090, 1096 (Fed. Cir. 2001) (“only persons with a valid
property interest at the time of the taking are entitled to compensation.” (citations omitted)).
Then, if the plaintiffs have a valid property interest, the plaintiff must establish that the alleged
government action amounts to a “compensable taking of that property interest.” Huntleigh USA
Corp., 525 F.3d at 1378 (quoting Am. Pelagic Fishing Co. v. United States, 379 F.3d 1363, 1372
(Fed. Cir. 2004)). Here, Plaintiffs do not have a valid property interest in the United States
providing a certain level of flood protection. Nicholson v. United States, 77 Fed. Cl. 605, 624,
(2007) (quoting United States v. Sponenbarger, 308 U.S. 256, 266 (1939)).


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(2018). The reservoirs serve multiple purposes, which include flood risk reduction. Id.

Similarly, the federal levee system was constructed to help contain flooding in sections of the

River below the reservoirs, id. at 660, and “runs continuously for 100 miles,” id. at 701. The

Court found that the BSNP aided navigation and flood control, id. at 661, and “led to the

accretion of tillable farmland along the River . . . extending the land into what was previously

water. Many of the properties involved in this litigation were created from the above-described

accretion,” id. at 663. This Court found, as Plaintiffs argued, that these measures all contributed,

and still contribute, to “flood control . . . [i]n fact, the Corps’ operation of the System and its

operations and maintenance of the BSNP work hand-in-hand to provide flood control.” Id. at

662. And since their implementation, flooding has been “less frequent and less severe.” Id. at

670. Because Plaintiffs failed to account for these actions, Plaintiffs failed to prove causation.

Plaintiffs make several arguments to the contrary in their response brief but each argument fails.

        a.       Plaintiffs’ reliance on John B. Hardwicke does not cure their failure to
                 account for all the United States’ flood-risk reducing actions.

        Plaintiffs mistakenly argue that St. Bernard Parish left open the issue whether causation

in a case like Ideker requires the Court to consider all of the United States’ actions related to

flood control when the flood-risk reducing actions allegedly occurred prior to the flood-risk

increasing actions. Pls.’ Combined Resp. to U.S. Resp. to Court’s Order Directing Briefing on

Effects of St. Bernard Parish Decision, and U.S. Mot. for Recons. (“Pls.’ Resp.”) 5, 6, ECF No.

440. 2 Plaintiffs are wrong. They base their argument on a misinterpretation of the Federal



2
  Plaintiffs state that “for purposes of this briefing, [they] are distinguishing St. Bernard Parish
based upon the Federal Circuit’s own admission” but that Plaintiffs “are reserving the right to
argue that the analysis of St. Bernard Parish is misguided in any event.” Pls.’ Resp. 1 n.1. But
Plaintiffs opportunity to articulate how St. Bernard Parish impacts the pending motions for
reconsideration has passed. See ECF No. 439 (Order) (stating that the parties are to address the
impacts of St. Bernard Parish).
                                                   3
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Circuit’s brief discussion of the John B. Hardwicke case, and ignore the main holding of St.

Bernard Parish. 3 Pls.’ Resp. 5, 6.

       A brief review of John B. Hardwicke v. United States and the Federal Circuit’s discussion

of that case in St. Bernard Parish is instructive. In John B. Hardwicke, a dam near plaintiffs’

property decreased flood risk and then a second dam later increased flood risk. 467 F.2d 488,

488-89 (Ct. Cl. 1972). In that case, the court properly looked at the overall impact of

government action to determine that flood risk was still far less than if there had been no

government action at all. John B. Hardwicke, 467 F.2d at 488-89; see also St. Bernard Parish,

887 F.3d at 1364. In St. Bernard Parish, the Federal Circuit cited John B. Hardwicke favorably

in support of its holding “that the causation analysis must consider the impact of the entirety of

government actions that address the relevant risk.” St. Bernard Parish, 887 F.3d at 1364

(emphasis added) (citing John B. Hardwicke, 467 F.2d 488, after discussing the same concept in

Sponenbarger). Later in the opinion, the Federal Circuit cited John B. Hardwicke in a footnote

stating that it “suggested that if the risk-reducing government action preceded the risk-increasing

action, the risk reducing action would only be considered if the risk-increasing action was

‘contemplated’ at the time of the risk-reducing action.” Id. at 1367 n.14 (emphasis added). The




3
  Plaintiffs argue that St. Bernard Parish recognized that the John B. Hardwicke approach might
be the correct standard for assessing causation and that the John B. Hardwicke approach actually
is the correct standard. Pls.’ Resp. 5, 6. But St. Bernard Parish did not recognize that John B.
Hardwicke articulated or “might” articulate the correct standard for assessing causation.
Plaintiffs incorrectly state that the Federal Circuit was discussing the “holding” in John B.
Hardwicke when it stated that “if the risk-reducing government action preceded the risk-
increasing action, the risk-reducing action would only be considered in assessing causation if the
risk-increasing action was ‘contemplated’ at the time of the risk-reducing action.” Pls.’ Resp. 5
n.2; Id. at 6 n.3. That is not the holding of John B. Hardwicke as explained by the Federal
Circuit in St. Bernard Parish. The Federal Circuit made clear that this aspect of John B.
Hardwicke was dicta. St. Bernard Parish, 887 F.3d at 1367 n.14.


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Federal Circuit made clear that this aspect of John B. Hardwicke was dicta (i.e., a “suggest[ion]”

that was not necessary to the result, since the court ruled for the United States). Id. And St.

Bernard Parish certainly did not endorse that dicta—to the contrary, it expressly reserved

judgment on “[w]hether the John Hardwicke approach is correct.” Id. As discussed below, the

fundamental logic of St. Bernard Parish—and the precedent on which the Federal Circuit

relied—make clear that the John B. Hardwicke dicta is wrong and that Plaintiffs’ reliance on that

dicta does not cure their failure to prove causation. 4

       b.       The cases relied on in St. Bernard Parish demonstrate that the proper
                causation standard must account for all United States actions that address
                the relevant risk.

       Plaintiffs’ interpretation of John B. Hardwicke conflicts with binding precedent. The

John B. Hardwicke dicta is not the correct standard as it conflicts with more recent Federal

Circuit precedent cited in St. Bernard Parish. Id. at 1364-65. For example, the Federal Circuit

relied directly on Arkansas Game & Fish Commission, which involved a factual scenario similar

to Ideker, where the Corps built the Clearwater Dam in the 1940s for “flood control purposes”

and then deviated from the operations manual in the 1990s. Id. (citing Ark. Game & Fish

Comm’n, 736 F.3d at 1372. 5



4
  Also, the footnote upon which Plaintiffs rely is located in the section of St. Bernard Parish
explaining that separate actions that are not the result of the same project must be considered if
they are “directly related to preventing the same type of injury on the same property where the
damage occurred.” 887 F.3d. at 1366. Absent from the Court’s description of the holding is any
distinction between the order of the actions.
5
  In an apparent attempt to distinguish Arkansas Game and Fish Commission, Plaintiffs state that
the “original dam construction was not a risk-reducing action insofar as its releases were set to
‘mimic the pre-dam water flows.’” Pls.’ Resp. 7 n.4 (quoting Ark. Game & Fish Comm’n, 736
F.3d at 1372 n.2). Plaintiffs’ selective quotation is misleading—the dam was constructed “for
flood control purposes.” Ark. Game & Fish Comm’n, 736 F.3d at 1367-68. And the Army
Corps of Engineers (“Corps”) adopted a water control plan to control river flows “to reduce the
adverse effects of flooding in downstream areas.” Ark. Game & Fish Comm’n v. United States,
                                                   5
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       Similarly, 6 St. Bernard Parish’s reliance on Cary v. United States, 552 F.3d 1373, 1375

(Fed. Cir. 2009), further establishes that the timing of the United States’ actions is not

determinative. In Cary, a hunter started a forest fire and the United States was sued for a taking

because it had left dead wood in the forest, which made the forest fire worse than it would have

been without the dead timber. Plaintiffs in Cary alleged that certain government fire-suppression

policies and visitor policies caused the fire and constituted a taking because the policies

increased the risk of fires. In explaining that a takings plaintiff must show that the injury is the

“direct, natural, and probable result” of government action, the Federal Circuit explained that

“government action” includes all of the government’s actions, Cary, 552 F.3d at 1377 n.*, which

included “a long sequence of decisions, some risk-increasing but others risk-decreasing, spread

out over decades” id. at 1379. The Federal Circuit rejected plaintiffs’ attempt to “cherry-pick

parts of the [government] policy which they argue[d] ha[d] increased the risk of wildfire since

1911 without acknowledging that much of the [government] policy over the last century ha[d]

been devoted to reducing the risk of wildfire.” Id. at 1377 n.*. The Federal Circuit explained

that “each risk-decreasing action in the Forest Service’s policies is an intervening act breaking

whatever causal chain would lead from an accused risk-increasing action to the conflagration

which destroyed the landowners’ property.” Id. at 1379. Faced with that timeline of events, the

Federal Circuit in St. Bernard Parish cited Cary and stated that “the causation analysis must

consider both risk-increasing and risk-decreasing government actions over a period of time to



637 F.3d 1366, 1367 (Fed. Cir. 2011), rev’d and remanded by 568 U.S. 23 (2012). The
deviations from that water control plan were what gave rise to the suit and what were found to
have caused flood damage that was worse than what was experienced before the dam was
constructed. Ark. Game & Fish Comm’n, 736 F.3d at 1367-68, 1371-72 & n.2.
6
  The United States addressed several of these cases in its response to Plaintiffs’ Brief Regarding
the Impact of St. Bernard Parish. See U.S. Resp. 4-7.
                                                  6
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determine whether the totality of the government’s actions caused the injury.” St. Bernard

Parish, 887 F.3d at 1365. After citing Cary and other cases discussed in the United States’

Response, ECF 441 at 6-7, the Federal Circuit reiterated that “the causation analysis requires the

plaintiff to establish what damage would have occurred without government action,” without any

delineation of the order of actions taken. St. Bernard Parish, 887 F.3d at 1363. Thus, the only

relevant holding from St. Bernard Parish is the requirement to consider the entirety of the United

States’ actions.

       These cases emphasize the importance of analyzing all of the United States’ actions that

address the “relevant risk,” even if those actions are separated by many years and involve

separate efforts to address the risk. Both Arkansas Game & Fish Commission and Cary involved

situations in which many decades separated some of the flood-risk reducing actions and the

flood-risk increasing actions. In Arkansas Game & Fish Commission, the Clearwater Dam was

built in the 1940s and the complained-of deviations occurred in the 1990s. In Cary, the risk-

reducing and risk-increasing decisions were intermingled over decades. 552 F.3d at 1377 n.*.

Thus, contrary to Plaintiffs’ assertions, there is no expiration date or temporal litmus test on the

United States’ actions that decrease the risk of flooding. See Pls.’ Resp. 2-3. Such an approach

would lead to arbitrary results that fail to consider the entirety of the United States’ actions. This

is especially important when analyzing the United States’ actions related to flood control because

of the complex nature of flood control projects and the significant investment and changes

required to those projects or systems over the course of many decades.

       Instead of acknowledging these cases, Plaintiffs borrow concepts from cases that did not

involve an issue of causation. Plaintiffs argue that the approach in John B. Hardwicke “is

binding on the Federal Circuit and this Court, and is not an open question of law.” Pls.’ Resp. 6.



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They state that the Federal Circuit in St. Bernard Parish explained that the John B. Hardwicke

approach is “dictated by Supreme Court’s holdings in United States v. Miller, 317 U.S. 369

(1943) and United States v. Reynolds, 397 U.S. 14 (1970) . . . .” Id. Plaintiffs again misread St.

Bernard Parish. Similar to the plaintiffs’ argument in St. Bernard Parish, Plaintiffs here “rely

on authorities not directed to causation, but rather concerned with the extent of the economic

injury sustained by the plaintiffs or the amount of a just compensation award. In assessing

economic loss for regulatory takings, the entirety of government action must be considered.”

887 F.3d at 1366; see Pls.’ Resp. 6-11 (citing Miller, Fuller, Reynolds, and several direct

condemnation cases from various courts). “And in determining just compensation, offsetting

benefits may be considered.” St. Bernard Parish, 887 F.3d at 1366 (citing Miller, 317 U.S. 369).

But the discussion of offsetting benefits in Miller and Reynolds “did not involve an issue of

causation.” Id. As such, Plaintiffs’ reliance on concepts from cases that did not involve an issue

of causation does not support their position.

       c.       The reasonable investment-backed expectations of the Plaintiffs are not part
                of the causation analysis.

       Contrary to Plaintiffs’ assertions, the “reasonable investment-backed expectations” of the

various Plaintiffs plays no role in the threshold causation analysis. Ideker Farms, 136 Fed. Cl. at

672. The entire concept of reasonable investment-backed expectations is only relevant after a

court determines that a plaintiff has a valid and compensable property interest and that the

United States caused the alleged injury. The same is true of the elements of foreseeability or

severity. St. Bernard Parish, 887 F.3d at 1362 (stating that the question of foreseeability need

not be considered because plaintiffs failed to establish causation). Even so, Plaintiffs argue that

the John B. Hardwicke approach recognizes that the proper standard for assessing causation

requires consideration of a plaintiff’s reasonable investment-backed expectations. Pls.’ Resp. 6-

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7. Plaintiffs rely on the Supreme Court’s statement in Arkansas Game and Fish Commission that

“‘[t]he determination whether a taking has occurred includes consideration of the property

owner’s distinct investment-backed expectations[.]’” Pls.’ Resp. 7. But just because a plaintiff’s

reasonable investment-backed expectations are relevant for determining the United States’

liability for a taking, such consideration is not required in “a determination of which government

acts must be included in the ‘but for’ analysis of causation.” Id. 7 In fact, the plaintiff in

Arkansas Game & Fish Commission did not acquire its property until after construction of the

Dam. 736 F.3d at 1372 n.2; Ark. Game & Fish Comm’n v. United States, 87 Fed. Cl. 594, 600-

03 (2009), aff’d, 736 F.3d 1364 (Fed. Cir. 2013). 8 Plaintiffs have not cited any controlling

precedent in which the causation analysis was combined with or preempted by a plaintiff’s

reasonable investment-backed expectations.



7
  Here, Plaintiffs argue that because there was “no nexus” between the United States’ actions,
Plaintiffs should not be required to account for those earlier actions. Pls.’ Resp. 11. They argue
that “the length of time elapsing between the Government’s actions” is relevant in determining
what actions should be considered. Id. As support, Plaintiffs rely on authorities not directed to
causation, but rather concerned with the amount of just compensation in direct condemnation
proceedings. These cases “did not involve an issue of causation.” St. Bernard Parish, 887 F.3d
at 1366. Moreover, any argument that there is “no nexus” between the United States’ operations
prior to 2004 and its operations after 2004 ignores reality. The complained-of releases began in
1986 under the previous Master Manual. U.S. Post-Trial Br. 13, ECF No. 375; Tr. at 7867:25 to
7868:3 (Farhat) (explaining that releases for threatened and endangered species have occurred
since 1986). And habitat construction began in 1995. See U.S. Post-Trial Br., Table 1.
8
  Plaintiffs again state that they each obtained “title to their lands well after the construction of
the System and BSNP was completed.” Pls.’ Resp. 10. To the extent Plaintiffs are arguing they
had reasonable investment-backed expectations in a certain level of benefit, numerous Plaintiffs
also purchased their property after the Master Manual update began (i.e., 1989), Tr. at 6868:5-11
(Farhat), and after habitat construction was considered (i.e., 1970s), DX573 at 31 & Tr. at
8878:12 to 8893:4 (Fischer). Thus, Plaintiffs’ reasonable investment-backed expectations must
be analyzed in the context of the Corps’ actions. See Ruckelshaus v. Monsanto Co., 467 U.S.
986, 1005-06 (1984) (investment-backed expectation “must be more than a ‘unilateral
expectation or an abstract need.’” (quoting Webb’s Fabulous Pharmacies, Inc. v. Beckwith, 449
U.S. 155, 161 (1980))); Love Terminal Partners, LLP v. United States, 889 F.3d 1331, 1345
(Fed. Cir. 2018) (similar).
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          d.      Plaintiffs’ claim fails under John B. Hardwicke.

          Even if Plaintiffs’ reliance on dicta from John B. Hardwicke were correct, Plaintiffs’

claims still fail. Plaintiffs first argue that the Corps’ risk-reducing activities predate the alleged

risk-increasing activity. Pls.’ Resp. 8-9. But, the United States’ actions that reduce the risk of

flooding on Plaintiffs’ properties have continued long after dam construction. The Corps

continually makes operational decisions at the reservoirs to provide flood risk reduction that

benefits plaintiffs. See e.g., PX 4 at USACE0002567 (stating that “[s]ince regulation of the

system commenced, there would have been many more flood occurrences were it not for the

upstream regulation.”); Tr. at 7217:16 to 7218:9 (Farhat) (describing reduction in releases in

2016 due to high tributary flows); Tr. at 6943:1 to 6944:4 (Farhat) (discussing operational

flexibility used only since mid-2000s to release below navigation targets which provide flood

risk reduction benefits). Further, each year the United States spends millions on the maintenance

and operations of the dams and BSNP structures that reduce the risk of flooding on Plaintiffs’

properties. Tr. at 6549:12-6550:2, 6550:21-23, 6551:25-6552:5 (Ponganis); 9208:19-9209:8,

9211:19-21, 9212:7-9213:4 (Pridal); 8990:12-8991:1, 9016:23-9019:13 (Chapman). After each

major flood, the Corps repairs and rebuilds the federal and non-federal levees that provide flood

protection to Plaintiffs’ properties. Tr. at 12061:11-20, 12063:23-12064:18, 12065:12-25

(Flere); Tr. at 12600:10-12602:5, 12613:14-19, 12613:19-21, 12617:18-12618:19, 12638:18-

12639:4, 12641:19-22, 12642:22-25, 12644:5-8 (Kneuvean). Plaintiffs’ argument, even if it

were a correct statement of the law, improperly ignores the myriad actions of the United States

subsequent to dam and levee construction that reduced the effects of flooding on their

properties. 9



9
    Of the remaining Plaintiffs, twenty two are behind levees that have been repaired since 2004.
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       Plaintiffs next argue that the changes adopted pursuant to the revised Master Manual

were not “contemplated at the time of the government actions decreasing the risk of flooding.”

Pls.’ Resp. 8-9. However, changes to the operations of the reservoirs were clearly contemplated

as it is a multiple-purpose system, which includes operations for fish and wildlife, and congress

entrusted the Corps with discretion in balancing those authorized purposes. See, e.g., PX3 at

USACE0004041 (1979 Master Manual stating “[a]s water resources development progresses, or

as a result of changing national and regional goal and policies, service requirements for the

mainstem system and its components will change.”); id. at USACE0003942; see also

1944 Flood Control Act Section 9 (approving and authorizing comprehensive plans “for flood

control and other purposes in the Missouri River Basin”); ETSI Pipeline Project v. Missouri, 484

U.S. 495, 500, 502 (1988) (citing “Pick Plan” set forth in H.R. Doc. No. 475, 78th Cong., 2d

Sess., 29 (1944) and adopted in Section 9 of the 1944 Act, for multiple purposes including

“wildlife”); In re Operation of Missouri River System Litigation, 421 F.3d 618, 629-30 (citing

South Dakota v. Ubbelohde, 330 F.3d 1014, 1019-20, 1027 (2003) (1944 FCA balances

“dominant functions” of flood control and navigation with “secondary uses including…fish, and

wildlife,” and “[t]he Corps’ balancing of water-use interests in the 2004 Master Manual is in

accordance with the FCA.”); see also 16 U.S.C. § 661 et seq. And Plaintiffs explicitly

acknowledge such changes in operation—Plaintiffs attempted to prove causation based on the

1979 Master Manual, which was the third rendition of the original 1960 Manual. The fact that

the Master Manual has evolved shows that changes in operations like those that are the basis of

Plaintiffs’ claims always have been contemplated.




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II.    The Proper Causation Standard Does Not Conflict with the Miller Doctrine, Or Any
       Other Precedent.

       Plaintiffs argue that a causation standard that requires consideration of all United States

actions that impact flooding on Plaintiffs’ property “runs contrary to well-established Fifth

Amendment and condemnation law which establishes how compensation is calculated for

condemnation, whether inverse or direct.” Pls.’ Resp. 13. Plaintiffs first rely on authorities

“determin[ing] whether and to what extent compensation is owed for lands condemned by the

government.” Id. But as stated above, reliance on direct condemnation cases provides no

support as they “did not involve an issue of causation.” St. Bernard Parish, 887 F.3d at 1366;

see Pls.’ Resp. 13-18 (citing only direct condemnation cases). 10

       Plaintiffs argue, however, that the Federal Circuit recently reiterated that “the Miller rule

applies to the question of whether property has been taken in the first place.” Pls.’ Resp. 19

(citing Love Terminal Partners, 889 F.3d 1331). But there was no issue of causation in Love

Terminal Partners. Instead, Love Terminal Partners’ discussion of Miller was in the context of

assessing the economic impact of a particular government action. 889 F.3d at 1346-47. Such

discussion is in line with St. Bernard Parish’s statement about whether the Miller doctrine is

even relevant to determining causation. 887 F.3d at 1366 n.14. As such, Plaintiffs’ reliance on

Love Terminal Partners is misplaced.

       Lastly, Plaintiffs argue that Miller cannot be distinguished “as applicable only to direct

condemnation actions but not Fifth Amendment takings cases.” Pls.’ Resp. 19. But Plaintiffs




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   Plaintiffs argue that the Federal Circuit in St. Bernard Parish “went out of its way to note that
it was not intending to curtail or contravene Miller.” Pls.’ Resp. 15 (citing St. Bernard Parish,
887 F.3d at 1367 n.14). But the Miller doctrine is only relevant to the issue of just compensation
and the Federal Circuit stated that it was not addressing whether “the Miller doctrine is even
relevant to determining causation” because it was not raised in that case. 887 F.3d at 1366 n.14.
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themselves concede that this issue is relevant to “whether compensation is owed and the measure

of compensation.” Id. (emphasis added) (citing cases discussing the appropriate measure of

compensation due). Again, Miller did not “involve an issue of causation.” St. Bernard Parish,

887 F.3d at 1366.

III.   The Proper Causation Standard Is Not an Impermissible Exclusionary Rule.

       The United States’ assertion that St. Bernard Parish requires this Court to consider all of

the United States’ actions that address flood risk does not amount to an “impermissible

exclusionary rule” as suggested by Plaintiffs. Pls.’ Resp. 20. In Arkansas Game and Fish

Commission, the court stated that flooding cases should be assessed with reference to the

“‘particular circumstances of each case and not by resorting to blanket exclusionary rules.” 568

U.S. at 37. But Plaintiffs take that statement out of context and suggest that because they have

not, and likely cannot, meet their causation burden, the result is an “impermissible exclusionary

rule.” Arkansas Game and Fish Commission provides no support for Plaintiffs’ position. To the

contrary, Arkansas Game and Fish Commission illustrates that not all takings claims fail under

the appropriate analysis for causation. The plaintiff in Arkansas Game and Fish Commission

successfully established that the complained-of releases caused flooding on its property where

the “proper comparison would be between the flooding that occurred prior to the construction of

[the dam] and the flooding that occurred during the deviation period.” St. Bernard Parish, 887

F.3d at 1364-65 (citing Ark. Game and Fish Comm’n, 736 F.3d 1364, 1367 n.2). It is of no

consequence that the releases were set to mimic the pre-dam water flows in Arkansas Game and

Fish Commission—those were just the “particular circumstances” of that case. Here, Plaintiffs

chose to bring a case where the “particular circumstances” included the largest reservoir system

in North America, hundreds of miles of levees, and the Bank Stabilization and Navigation



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Project. As such, requiring Plaintiffs to account for the entirety of the United States’ relevant

actions is not an exclusionary standard.

        Second, Plaintiffs again argue that “practically speaking, no claim of taking by flooding

with respect to the Missouri River could ever be maintained under that standard.” Pls.’ Resp. 21.

Plaintiffs go so far as to say that considering the entirety of the United States’ actions that

address flood risk in Ideker would result in a standard that “defies practical workability” and

would “create[] an absurd result.” Id. at 21-22. Plaintiffs’ argument is extreme. It would

require this Court to ignore the flood-risk decreasing actions of the United States that benefitted

the Plaintiffs’ properties at the time of the taking. Such an arbitrary approach defies reason and

would itself lead to “an absurd result.” Such an approach also fails to account for the complex

nature of flood control systems, which continue to provide flood risk reduction and require

significant financial resources for maintenance and repairs so they can confer a current flood-

risk reducing benefit. Just because Plaintiffs’ claims fail under the causation standard is not a

flaw in the causation standard; it is a flaw in Plaintiffs’ claims. See Ark. Game and Fish

Comm’n, 736 F.3d 1364 (describing plaintiffs’ successful taking-by-flooding claim).

                                           CONCLUSION

        Plaintiffs and this Court failed to apply the correct causation standard, which required the

causation analysis to include all government actions that reduce the risk of flooding along the

Missouri River. This failure was clear legal error and, with respect to Plaintiffs, a failure of

proof on a threshold legal issue. Therefore, the Court should reconsider its trial opinion under

RCFC 59(a), vacate its findings on causation, and find that Plaintiffs’ failure of proof requires

dismissal of all Plaintiffs’ claims.

        Respectfully submitted this 15th day of June, 2018.



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